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                         UNITED STATES DISTRICT COURT

                        WESTERN DISTRICT OF LOUISIANA

                                 SHREVEPORT DIVISION

  UNITED STATES OF AMERICA                   *    CRIMINAL NO. 18-cr-00030
                                             *
  VERSUS                                     *    CHIEF JUDGE HICKS
                                             *
  DAVID D. deBERARDINIS                      *    MAGISTRATE JUDGE HORNSBY


                       MOTION TO ENROLL CO-COUNSEL

        NOW INTO COURT, comes the UNITED STATES OF AMERICA, through the

  United States Attorney for the Western District of Louisiana and the undersigned

  First Assistant United States Attorney, who respectfully represents:

        Cytheria D. Jernigan, Assistant United States Attorney, has heretofore

  represented the Government in the above numbered and entitled matter and hereby

  requests that this Honorable Court allow the following to be enrolled as co-counsel on

  behalf of the United States of America:

        ALEXANDER C. VAN HOOK (LA Bar No. 25281)
        First Assistant United States Attorney
        300 Fannin Street, Suite 3201
        Shreveport, LA 71101
        Telephone: (318) 676-3600

        WHEREFORE,         the    UNITED         STATES   OF     AMERICA,      through

  the undersigned, hereby respectfully requests that this Honorable Court allow

  Alexander C. Van Hook, First Assistant United States Attorney, to be enrolled as co-
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  counsel of record for the UNITED STATES OF AMERICA in the above-captioned

  matter.

                                     Respectfully submitted,

                                     DAVID C. JOSEPH
                                     United States Attorney

                               By:    /s/ Alexander C. Van Hook (LA Bar #25281)
                                     Assistant United States Attorney
                                     300 Fannin Street, Suite 3201
                                     Shreveport, LA 71101
                                     Telephone: (318) 676-3600




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